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                               UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF INDIANA

 UNITED STATES OF AMERICA
                  Plaintiff
 v.                                                   Case Number 3:12cr110-001

                                                      USM Number 12413-027
 HAYLE N DOTY
                       Defendant
                                                      DAVID P JONES
                                                      Defendant’s Attorney
 ___________________________________

                               JUDGMENT IN A CRIMINAL CASE

 THE DEFENDANT pleaded guilty to count 1 of the Indictment on 12/13/2012.

 ACCORDINGLY, the court has adjudicated that the defendant is guilty of the following offense(s):

                                                           Date Offense              Count
          Title, Section & Nature of Offense                  Ended                Number(s)


  21:846 CONSPIRACY; KNOWINGLY AND                      September 23, 2012             1
  INTENTIONALLY DISTRIBUTE AND POSSESS
  WITH THE INTENT TO DISTRIBUTE CONTROLLED
  SUBSTANCE (MARIJUANA) IN THE AMOUNT OF
  100 KILOGRAMS OR MORE

 The defendant is sentenced as provided in pages 2 through 7 of this judgment. The sentence is
 imposed pursuant to the Sentencing Reform Act of 1984.

 Counts 2 and 3 of the Indictment are dismissed on the motion of the United States.

 IT IS ORDERED that the defendant must notify the United States Attorney for this district within 30
 days of any change of name, residence, or mailing address until all fines, restitution, costs and
 special assessments imposed by this judgment are fully paid. If ordered to pay restitution, the
 defendant must notify the court and United States Attorney of any material change in economic
 circumstances.
                                               April 18, 2013
                                               Date of Imposition of Judgment

                                               s/ Jon E. DeGuilio
                                               Signature of Judge

                                               Jon E. DeGuilio, United States District Judge
                                               Name and Title of Judge

                                               April 19, 2013
                                               Date
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                                           IMPRISONMENT

         The defendant is hereby committed to the custody of the United States Bureau of Prisons
 to be imprisoned for a total term of 30 months.

         The Court makes the following recommendations to the Bureau of Prisons: That the Bureau
 of Prisons designate as the place of the defendant's confinement, if such placement is consistent
 with the defendant's security classification as determined by the Bureau of Prisons, a facility where
 she may receive a mental health evaluation and counseling, as deemed necessary; and that the
 defendant be placed in a facility as close as possible to her family in Northern District of Indiana.
 The Court strongly recommends substance abuse counseling, in particular, the RDAP Program.


          The defendant is remanded to the custody of the United States Marshal.



                                               RETURN

 I have executed this judgment as follows:

          Defendant delivered                             to                         at
          , with a certified copy of this judgment.



                                                                       UNITED STATES MARSHAL


                                                          By:
                                                             DEPUTY UNITED STATES MARSHAL
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                                     SUPERVISED RELEASE

 Upon release from imprisonment, the defendant shall be on supervised release for a term of 4
 years.

 The defendant shall report in person to the probation office in the district to which the defendant is
 released within 72 hours of release from the custody of the Bureau of Prisons.

 The defendant shall not commit another federal, state or local crime.

 The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain
 from any unlawful use of a controlled substance.

 The defendant shall submit to one drug test within 15 days of release from imprisonment and two
 (2) periodic drug tests thereafter, as determined by the Court.

 The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous
 weapon.

 The defendant shall cooperate in the collection of DNA as directed by the probation officer.
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                              STANDARD CONDITIONS OF SUPERVISION

 1.       The defendant shall not leave the judicial district without the permission of the Court or
          probation officer.
 2.       The defendant shall report to the probation officer in the manner and as frequently as
          directed by the Court or probation officer.
 3.       The defendant shall answer truthfully all inquiries by the probation officer and follow the
          instructions of the probation officer.
 4.       The defendant shall support her dependents and meet other family responsibilities.
 5.       The defendant shall work regularly at a lawful occupation unless excused by the probation
          officer for schooling, training, or other acceptable reasons.
 6.       The defendant shall notify the probation officer within ten (10) days of any change in
          residence or employment.
 7.       The defendant shall refrain from excessive use of alcohol and shall not purchase, possess,
          use, distribute, or administer any narcotic or other controlled substance, or any
          paraphernalia related to such substances, except as prescribed by a physician.
 8.       The defendant shall not frequent places where controlled substances are illegally sold,
          used, distributed, or administered.
 9.       The defendant shall not associate with any persons engaged in criminal activity, and shall
          not associate with any person convicted of a felony unless granted permission to do so by
          the probation officer.
 10.      The defendant shall permit a probation officer to visit him or her at any time at home or
          elsewhere and shall permit confiscation of any contraband observed in plain view by the
          probation officer.
 11.      The defendant shall notify the probation officer within seventy-two (72) hours of being
          arrested or questioned by a law enforcement officer.
 12.      The defendant shall not enter into any agreement to act as an informer or a special agent
          of a law enforcement agency without the permission of the Court.
 13.      As directed by the probation officer, the defendant shall notify third parties of risks that may
          be occasioned by the defendant’s criminal record or personal history or characteristics, and
          shall permit the probation officer to make such notifications and to confirm the defendant’s
          compliance with such notification requirement.
 14.      The defendant shall pay the special assessment imposed or adhere to a court-ordered
          installment schedule for the payment of the special assessment.
 15.      The defendant shall notify the probation officer of any material change in the defendant’s
          economic circumstances that might affect the defendant’s ability to pay any unpaid amount
          of restitution, fines, or special assessments.
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                              SPECIAL CONDITIONS OF SUPERVISION

 The defendant shall participate in a substance abuse treatment program and shall abide by all
 program requirements and restrictions, which may include testing for the detection of alcohol or
 drugs of abuse at the direction and discretion of the probation officer. While under supervision, the
 defendant shall not consume alcoholic beverages or any mood altering substances, which overrides
 the ?no excessive use of alcohol” language in Standard Condition #7. The defendant shall not be
 allowed to work at a tavern or to patronize taverns or any establishments where alcohol is the
 principal item of sale. The defendant shall pay all or part of the costs for participation in the
 program not to exceed the sliding fee scale as established by the Department of Health and Human
 Services adopted by this court.
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                              CRIMINAL MONETARY PENALTIES


        The defendant shall pay the following total criminal monetary penalties in accordance with
 the schedule of payments set forth in this judgment.

         Total Assessment                   Total Fine                  Total Restitution
                $100.00                       NONE                            NONE

         The defendant shall make the special assessment payment payable to Clerk, U.S. District
 Court, 102 Robert A. Grant Courthouse, 204 South Main Street, South Bend, IN 46601. The
 special assessment payment shall be due immediately.

                                              FINE

          No fine imposed.

                                         RESTITUTION

          No restitution was ordered.
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                                                                 Name:       HAYLE N DOTY

                                                              Docket No.:      3:12cr110-001


                          ACKNOWLEDGMENT OF SUPERVISION CONDITIONS


         Upon a finding of a violation of probation or supervised release, I understand that the
 Court may (1) revoke supervision, (2) extend the term of supervision, and/or (3) modify the
 conditions of supervision.

         I have reviewed the Judgment and Commitment Order in my case and the supervision
 conditions therein. These conditions have been read to me. I fully understand the conditions
 and have been provided a copy of them.


          (Signed)
                 ____________________________________             __________________
                   Defendant                                             Date


                    ____________________________________          __________________
                     U.S. Probation Officer/Designated Witness           Date
